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IN THE UNITED STATES DISTRICT COURT m BY [!)¢£E /bd:
FOR THE WESTERN DISTRICT OF TENNESSEE l
WESTERN DIVISION

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THOMW M. GOU.D
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w .» D.):: viii FJ:EMH'HS

RCCHELLE N. PERRY,
Plaintiff,
v.

No. 05-2044 Ma/P

CINGULAR WIRELESS,

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Defendant.

 

ORDER TO SHOW CAUSE

 

Before the court is Defendant's March 24, 2005, motion to
dismiss. On April 13, 2005, Plaintiff filed a motion for an
extension of time in which to file a response to Defendant's motion
to dismiss. On April 27, 2005, this court granted Plaintiff's
motion for an extension of time, and set June 30, 2005, as the
deadline for Plaintiff to file a response to Defendant’s motion to
dismiss. Plaintiff has not yet responded to the motion to dismiss,
and the time for response has passed. Plaintiff is hereby ordered
to show cause within eleven (11) days from the date of this order

as to why Defendant’s motion should not be granted.

So ordered this ’KJ{`day of July 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

T¢:n`S document entered on the docket Shee in c lance
with Rule ab and/or 79(a) FHCP on-LM l / 7

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CV-02044 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

